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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                           CASE NO.23-80101-CR-CANNON

   UNITED STATES OF AMERICA

   v.

   CARLOS DE OLIVEIRA
                  Defendant.
   ____________________________/

                 MOTION TO DISMISS THE INDICTMENT
                      AS TO CARLOS DE OLIVEIRA
          OR IN THE ALTERNATIVE FOR A BILL OF PARTICULARS

         For the reasons stated below, the Superseding Indictment in this matter is

   constitutionally deficient as to Carlos De Oliveira and should be dismissed.

   Alternatively and at a minimum, the Government should be required to file a bill of

   particulars that would provide Mr. De Oliveira with the information he needs to

   defend himself. Per the Court’s Minute Order on February 20, 2024 (ECF No. 320),

   Mr. De Oliveira respectfully requests a hearing on this motion but does not anticipate

   the need for any witness testimony.

   I. Relevant Facts

         Carlos De Oliveira is charged in the 42-Count, 53-page Superseding

   Indictment (ECF No. 85) with the following counts:
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       Count 33 – charging all three defendants with Conspiracy to Obstruct Justice

         in violation of 18 U.S.C. 1512(k), incorporating violations of 18 U.S.C. §§

         1512(b)(2)(A), (b)(2)(B), and (c)(1);

       Count 40 – charging all three defendants with a substantive Obstruction of

         Justice violation of 18 U.S.C. § 1512(b)(2)(B) (corruptly attempting to

         persuade another person to alter/conceal record) related to the alleged request

         “that Trump Employee 4 delete security footage at the Mar-a-Lago Club to

         prevent the footage from being provided to a federal grand jury”;

       Count 41 – charging all three defendants with a substantive Obstruction of

         Justice violation of 18 U.S.C. § 1512(c)(1) (corruptly attempting to

         alter/conceal a record) related to the same alleged request referenced in Count

         40.

       Count 42 – charging only Mr. De Oliveira with Making a False Statement in

         violation of 18 U.S.C. § 1001(a)(2) related to his alleged statement to an FBI

         agent that he did not help move former President Trump back into Mar-a-Lago

         two years earlier at the end of his Administration.

         Mr. De Oliveira is not charged in any of the first 32 Counts alleging Willful

   Retention of National Defense Information (18 U.S.C. § 793(e)). He is not charged

   in the Obstruction of Justice allegations in Counts 34, 35, or 36 regarding moving

   boxes containing classified information in order to conceal them from Trump
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   Attorney 1 and the grand jury. Nor is he charged with any of the False Statement

   violations in Counts 37, 38, or 39 alleging a scheme to conceal President Trump’s

   continued possession of classified documents and related to the June 3, 2022,

   certification provided by Trump Attorney 3 and Mr. Nauta’s testimony before the

   grand jury.

         Indeed, nowhere does the Superseding Indictment allege that Mr. De Oliveira

   has ever seen a classified document, or that he was aware of their existence and

   presence at Mar-a-Lago at any time. The Superseding Indictment is also devoid of

   any assertion that Mr. De Oliveira was aware of any government investigation at the

   time of his alleged actions in June 2022, that he was aware of any grand jury

   subpoena at the time, either for documents with classified markings or for Mar-a-

   Lago security video, or that he would have any understanding of the preservation

   and production obligations that such a subpoena would require.

   II. Applicable Legal Standard

         An indictment must be “a plain, concise, and definite written statement of the

   essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). “A

   defendant may move for a bill of particulars before or within 14 days after

   arraignment or at a later time if the court permits.” Id. at 7(f). An indictment must:

         (1) present[] the essential elements of the charged offense, (2) notify
         the accused of the charges to be defended against, and (3) enable the
         accused to rely upon a judgment under the indictment as a bar against
         double jeopardy for any subsequent prosecution for the same offense.
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   United States v. Woodruff, 296 F.3d 1041, 1046 (11th Cir. 2002). See also Cochran v.

   United States, 157 U.S. 286, 290 (1895).

         Courts must consider an indictment on its face, and the indictment’s language

   must at least “track[] the wording of the statute” and “set[] forth the essential

   elements of the crime.” United States v. Critzer, 951 F.2d 306, 307-308 (11th Cir.

   1992). A motion to dismiss an indictment cannot simply be a request for a pretrial

   determination of the sufficiency of the evidence. See United States v. Salman, 378

   F.3d 1266, 1268 (11th Cir. 2004); Critzer, 951 F.2d at 307.

         That said, Fed. R. Crim. P. 7(c) requires that an indictment be “a plain,

   concise, and definite written statement of the essential facts constituting the offense

   charged,” and this Circuit has vacated Obstruction of Justice convictions where an

   indictment failed to provide constitutional notice and due process, stating:

         However, “[e]ven when an indictment tracks the language of the statute,
         it must be accompanied with such a statement of facts and
         circumstances as will inform the accused of the specific offense,
         coming under the general description, with which he is charged”

   United States v. McGarity, 669 F.2d 1218, 1236 (11th Cir. 2012) (quoting United

   States v. Schmitz, 634 F.3d 1247, 1261 (11th Cir. 2011)). The court in McGarity

   agreed that:

         [A]n indictment charging a defendant with statutory obstruction of
         justice under [18 U.S.C.] § 1512(c) must identify which official
         proceeding was obstructed and otherwise provide sufficient notice to
         the defendant of the factual predicate for the charge.
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         An indictment also “fails as a matter of law if the defendants’ charged conduct,

   even if true, does not violate the statute or provision cited in the indictment.” United

   States v. Beredeal, 595 F. Supp. 2d 1326, 1328 (S.D. Fla. 2009) (dismissing Lacy

   Act counts where the importation of fish did not violate state law, which was a

   predicate to a Lacy Act violation). See also United States v. Madera, 528 F.3d 852,

   859 (11th Cir. 2008)(dismissing an indictment alleging a violation where the

   defendant failed to comply with a later, retroactive statutory determination by the

   Attorney General); United States v. Bobo, 344 F.3d 1076, 1084 (11th Cir. 2003)

   (vacating a healthcare fraud conviction where the indictment “contain[ed] no

   indication of what the government contended was unlawful about [the defendant’s]

   conduct” and failed to specify the scheme to defraud or articulate a fraud in

   connection with the delivery of health care services).

   III. Analysis

         A. The Obstruction of Justice Allegations in Counts 33, 40, and 41, Should
            be Dismissed

         The Obstruction of Justice allegations in Counts 33, 40, and 41 of the

   Superseding Indictment fail to notify Mr. De Oliveira of the charges that he needs to

   defend against and enable him to rely on any judgment as a double jeopardy bar.

   Even limiting this analysis to the four corners of the Superseding Indictment and

   assuming at this early stage that its allegations are true and viewed in a light most
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   favorable to the Government, see Beredeal, 595 F. Supp. 2d at 1328, the obstruction

   counts fail to articulate how Mr. De Oliveira’s conduct violated the law.

         Mr. De Oilveira is charged in Count 33 with Conspiracy to Obstruct Justice,

   the purpose of which is alleged to have been “for Trump to keep classified

   documents he had taken with him from the White House and to hide and conceal

   them from a federal grand jury.” (ECF No. 85 ¶ 98). The Superseding Indictment

   lists the following manner and means of the conspiracy (id. at ¶ 97):

      a. Suggesting that Trump Attorney 1 falsely represent to the FBI and grand jury
         that TRUMP did not have documents called for by the May 11 Subpoena;

      b. Moving boxes of documents to conceal them from Trump Attorney 1, the FBI,
         and the grand jury;

      c. Suggesting that Trump Attorney I hide or destroy documents called for by the
         May 11 Subpoena;

      d. Providing to the FBI and grand jury just some of the documents called for by
         the May 11 Subpoena, while TRUMP claimed he was cooperating fully;

      e. Causing a false certification to be submitted to the FBI and grand jury
         representing that all documents with classification markings had been
         produced, when in fact they had not;

      f. Making false and misleading statements to the FBI; and

      g. Attempting to delete security camera footage from The Mar-a-Lago Club to
         conceal the footage from the FBI and grand jury.

         The Superseding Indictment’s lengthy introduction describes “The

   Defendants’ Concealment of Boxes” starting at page 21. It states that the grand jury

   issued a subpoena on May 11, 2022, for “all documents with classification markings
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   in the possession, custody, or control of TRUMP or The Office of Donald J. Trump.”

   It then proceeds to explain interactions between President Trump and Trump

   Attorney 1. It then alleges that between May 11 and June 2, 2022, Mr. Nauta moved

   64 boxes from the Storage Room to President Trump’s residence, and that Mr. Nauta

   and Mr. De Oliveira moved approximately 30 boxes to the storage room on June 2,

   2022, in an apparent effort to hide the remaining boxes from Trump Attorney 1.

         The Superseding Indictment does not allege that Mr. De Oliveira ever saw a

   classified document. It does not allege that Mr. De Oliveira was aware of the

   presence of any classified documents in the boxes that he moved. It does not allege

   that Mr. De Oliveira was even aware of any government investigation or the May 11

   subpoena at the time he moved the boxes, let alone that he would have understood

   the obligations that would come with such a subpoena. The Indictment does not

   allege that Mr. De Oliveira had any involvement in moving the approximately 64

   boxes to President Trump’s residence, or that he was aware that any boxes even

   existed beyond the approximately 30 that he and Mr. Nauta moved into the storage

   room on June 2, 2022. Thus, the Indictment alleges, at least as far as Mr. De Oliveira

   was concerned, that Mr. De Oliveira essentially sought to hide from Trump Attorney

   1 the very boxes that Trump Attorney 1 reviewed only hours after they were moved

   into the storage room.
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         Surely, Mr. De Oliveira’s alleged involvement in a conspiracy to Obstruct

   Justice is not based on his assistance in moving boxes, the contents of which he had

   no clue, into a storage room where they were then almost immediately reviewed by

   Trump Attorney 1. That the Government declined to charge Mr. De Oliveira in the

   substantive Obstruction of Justice allegations involving the movement of the boxes

   in Counts 34, 35, and 36, or the “scheme to conceal” documents in Count 37 suggests

   that the Government agrees that the facts of this case would not support such

   allegations. It stands to reason, then, that the Government and the Superseding

   Indictment do not allege that Mr. De Oliveira was involved in the first five of the

   seven items alleged as the “manner and means” of the conspiracy.

         The next “manner and means” allegation is “making false and misleading

   statements to the FBI.” Here, again, Mr. De Oliveira is not included in the False

   Statement allegations of Count 37 (scheme to conceal President Trump’s continued

   possession of documents with classification markings), Count 38 (President Trump

   causing Trump Attorney 3 to provide a certification), or Count 39 (Mr. Nauta’s May

   26, 2022, statements to the grand jury). Thus, the Conspiracy alleged in Count 33

   presumably is not predicated on those statements as to Mr. De Oliveira. As discussed

   further below, it is impossible that Mr. De Oliveira’s alleged False Statement in

   Count 42 could be an overt act in furtherance of the Conspiracy alleged in Count 33.

   In fact, other than vaguely incorporating the Superseding Indictment’s General
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   Allegations, Count 33 fails to specify any overt acts by Mr. De Oliveira in

   furtherance of the alleged Conspiracy.

         The final “manner and means” item listed in Count 33 is “attempting to delete

   security camera footage from The Mar-a-Lago Club to conceal the footage from the

   FBI and grand jury,” which is alleged as substantive Obstruction in Counts 40 and

   41 of the Superseding Indictment. As with the movement of the boxes, however,

   none of those Counts allege that Mr. De Oliveira had any knowledge or

   understanding that a Justice Department attorney emailed a draft subpoena for Mar-

   a-Lago video footage to one of President Trump’s attorneys on June 22, 2022 (ECF

   No. 85 ¶ 74) or that a final subpoena was emailed two days later.

         The Superseding Indictment’s description of the alleged “Attempt to Delete

   Security Camera Footage” (starting at p. 27) twice states that the purpose of Mr. De

   Oliveira’s interaction with Trump Employee 4 pertained to “how long camera

   footage was stored” (ECF No. 85 ¶ 81) and “how many days the server retained

   footage” (id. at ¶ 84(b)). Even assuming for present purposes, as we must, that Trump

   Employee 4 was truthful when he described Mr. De Oliveira saying that “’the boss’

   wanted the server deleted” (id. at ¶ 84(c)) (and that Mr. De Oliveira had any

   understanding of what a surveillance video data server was), that interaction fails to

   support the allegations of Obstruction charged in Counts 40 and 41, and by

   extrapolation in the Conspiracy charged in Count 33, in the absence of even the
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   allegation that Mr. De Oliveira knew that a subpoena had issued, that the data in

   question was responsive to the subpoena, and that it needed to be preserved and

   provided to the Government (which it was).

         It is also worth mentioning that the Superseding Indictment fails to specify

   which official proceeding Mr. De Oliveira was alleged to have attempted to obstruct.

   The Superseding Indictment states that “On April 26, 2022, a federal grand jury

   opened an investigation” (ECF No. 85 ¶ 52), that “On May 11, 2022, the grand jury

   issued a subpoena” for documents with classification markings (id. at ¶ 53), and that

   “a draft grand jury subpoena” and “the final grand jury subpoena” seeking video

   footage were emailed on June 22 and 23, 2022 (id. at ¶¶ 75 and 77). It does not

   specify which grand jury sought that information or issued those subpoenas. While

   that might ordinarily be semantic, it is less so where this matter involved at least two

   grand juries were convened in the District of Columbia and in the Southern District

   of Florida. If we are to limit our analysis to the four corners of the Superseding

   Indictment, it fails to notify Mr. De Oliveira of key facts that he needs to defend

   against and fails to enable him to rely on any judgment as a double jeopardy bar. See

   McGarity, 669 F.2d at 1240 (“… the only notice provided here is that the defendants

   obstructed an unknown official proceeding at some time in some place by some

   action”).
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         B. The False Statement Allegation in Count 42 Should Also be Dismissed

         Count 42 of the Superseding Indictment fails to allege a crime and suffers

   from similar infirmities as the Obstruction-related counts with respect to providing

   adequate notice and barring double jeopardy. Count 42 alleges apparently – in a

   rambling and disconnected colloquy – that Mr. De Oliveira denied helping to move

   items belonging to President Trump and his family back into Mar-a-Lago after the

   presidency ended in January 2021 and denied knowing where “items” would have

   been stored.

         Putting aside, for now, the fact that Mr. De Oliveira’s “participation in a

   voluntary interview” occurred two years later in January 2023 in response to armed

   FBI agents who confronted him at his home late in the evening without any notice,

   without any notice about what they wished to ask Mr. De Oliveira, and without any

   effort to refresh Mr. De Oliveira’s memory of events that occurred two years prior;

   Mr. De Oliveira’s statement, as alleged in Count 42, was not false. Looking

   generously at the language in a light most favorable to the Government, the agents

   asked whether Mr. De Oliveira was part of a group that helped unload and move

   “boxes [that] arrived at Mar-a-Lago”. They asked Mr. De Oliveira “Do you – were

   you – do you even, like, or were you even there or aware that boxes were … like, all

   this stuff was being moved in?” He was then asked, “Even his personal stuff, like,

   his clothes … and furniture, nothing?” He was then asked, “So, you don’t know
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   where items would have been stored, as soon as he moved back to Mar-a-Lago.” Mr.

   De Oliveira answered all of these questions in the negative (except for one “Yeah.

   And then –”). Even assuming that Mr. De Oliveira understood in that moment the

   broken questions being posed by an FBI agent that sound more like a teenager trying

   to order a pizza, it is impossible to know which “stuff” the agent was talking about.

   Presumably, there was plenty of “stuff” and “personal stuff” being moved into Mar-

   a-Lago after the presidency. Mr. De Oliveira’s point – obviously – was that he had

   no real involvement in that move and had no idea what went where once it arrived

   at Mar-a-Lago, and he had no knowledge of any classified documents, which, as

   stated in Count 42, was what the agent told Mr. De Oliveira the FBI was

   investigating.

         Even if, for some inexplicable reason, Mr. De Oliveira consciously and

   knowingly lied about moving boxes of “stuff” into Mar-a-Lago, the Superseding

   Indictment fails to articulate why the agent’s questions or Mr. De Oliveira’s answers

   would be at all material to the Government’s investigation. See United States v.

   Bazantes, 978 F.3d 1227, 1247 (11th Cir. 2020) (defining “materiality” as having

   “the capability of affecting or influencing the exercise of a government function”).

   Nothing in the colloquy mentions classified documents. To the contrary, the agent

   asked vaguely about “boxes [that] arrived at Mar-a-Lago” along with “stuff”,

   “personal stuff”, “clothes”, and “furniture”. Moreover, this discussion came two
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   years after President Trump moved back into Mar-a-Lago, seven months after the

   grand jury investigation started in May of 2022 and five months after the FBI

   executed a search warrant at Mar-a-Lago in August of 2022. The Superseding

   Indictment itself alleges that whatever boxes arrived at Mar-a-Lago in January 2021

   were moved repeatedly over the course of the following two years. Mr. Nauta and

   others moved some boxes in March of 2021 (ECF No. 85 at ¶ 27). Some boxes were

   moved in April 2021 (id. at ¶ 29). Boxes were again moved in May 2021 (¶ 33), June

   2021 (¶ 31), between November 2021 and January 2022 (¶ 39), in January 2022 (¶

   47), and between May 22 and June 3, 2022 (¶¶ 54, 59, 62, 63, 73).

         Thus, not only did the questions seek irrelevant information about where a

   broad range of “stuff” was located two years prior, they sought that information after

   the Government executed a search warrant and had all possible opportunity to see

   what “stuff” was located where at Mar-a-Lago at a far more recent time. Even if Mr.

   De Oliveira had answered “yes” to each of the agent’s questions, any information he

   might have had about items moved into Mar-a-Lago in January 2021 would have

   been useless to the Government’s investigation.

         While the Superseding Indictment parrots the language of Section 1001,

   including the word “materially”, that is belied by the remaining language in Count

   42. More importantly, Count 42 fails to provide Mr. De Oliveira adequate notice as
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   to why his statement was knowingly false or material to the Government’s

   investigation.

         Further, Count 42 alleges that Mr. De Oliveira’s statements occurred on

   January 13, 2023, while the Conspiracy to Obstruct Justice alleged in Count 33

   occurred between May 11, 2022, through August 2022. Thus – even if the statement

   alleged in Count 42 was knowingly false and material – which is not the case – it

   could not be an act in furtherance of or a basis for the Conspiracy alleged in Count

   33.

         C. At a Minimum, the Government Should be Required to Provide a Bill
            of Particulars

         Rule 7(f) of the Federal Rules of Criminal Procedure authorizes the Court to

   direct the Government to file a bill of particulars, which a defendant may seek within

   14 days after arraignment “or at a later time if the court permits.” For the reasons

   stated above, the Superseding Indictment is fatally flawed as to Mr. De Oliveira, and

   he respectfully requests that the Court simply dismiss it. Alternatively, having now

   had an opportunity to review at least some of the voluminous discovery in this

   matter, Mr. De Oliveira requests that the Court exercise its discretion and require the

   Government to file a bill of particulars.

         The bill of particulars should:
         (1) present[] the essential elements of the charged offense, (2) notify
         the accused of the charges to be defended against, and (3) enable the
         accused to rely upon a judgment under the indictment as a bar against
         double jeopardy for any subsequent prosecution for the same offense.
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   United States v. Woodruff, 296 F.3d 1041, 1046 (11th Cir. 2002).

         The Government should be required to provide at least the following

   information:

      1. Count 33 – Conspiracy to Obstruct Justice

            a. Which acts in furtherance of the alleged conspiracy Mr. De Oliveira

                  engaged in;

            b. Which of the actions listed in Count 33’s “manner and means” Mr. De

                  Oliveira engaged in;

            c. What information the Government relies on to show that Mr. De

                  Oliveira understood what the object of the conspiracy was and agreed

                  to join the Conspiracy;

            d. Whether the Government alleges that Mr. De Oliveira has ever seen a

                  classified document;

            e. Whether the Government alleges that Mr. De Oliveira had any idea

                  what was contained in the boxes that he helped move to the storage area

                  on June 2, 2022;

            f. Whether the Government alleges that Mr. De Oliveira was aware of the

                  subpoena issued on May 11, 2022, demanding “all documents with

                  classification markings”; and
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            g. Whether Mr. De Oliveira understood what a subpoena was and the

               obligations it imposes.

      2. Counts 40 and 41 – Obstruction of Justice

            a. Whether the Government alleges that Mr. De Oliveira was aware of the

               draft subpoena demanding video footage emailed to a Trump attorney

               on June 22, 2022;

            b. Whether the Government alleges that Mr. De Oliveira was aware of the

               final subpoena demanding video footage emailed to a Trump attorney

               on June 24, 2022;

            c. Whether Mr. De Oliveira understood in June 2022 what a subpoena was

               and the obligations it imposes;

            d. Whether Mr. De Oliveira understood in June 2022 what a video data

               server was; and

            e. Whether Mr. De Oliveira understood in June 2022 that the server he

               allegedly discussed with Trump Employee 4 contained information that

               was demanded in the draft and final subpoenas seeking video footage.

      3. Count 42 – Material False Statements

            a. What was false about what Mr. De Oliveira allegedly said to the FBI

               agent on January 13, 2023;
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             b. How the questions posed by the FBI agent to Mr. De Oliveira on

                January 13, 2023 were material to the Government’s investigation;

             c. How Mr. De Oliveira’s answers to those questions were material to the

                Government’s investigation; and

             d. How affirmative answers to any of the FBI agent’s questions on January

                13, 2023, could have assisted the Government’s investigation.

         Wherefore, Mr. De Oliveira respectfully requests that the Court dismiss the

   Superseding Indictment as to him or, in the alternative, require the Government to

   file a Bill of Particulars pursuant to Ded. R. Crim. P. 7(f).

   Dated: February 22, 2024


                                     Respectfully Submitted

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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 22, 2024, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF, which in turn serves

   counsel of record via transmission of Notices of Electronic Filing.
